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                              UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 WAYMO LLC,                                    CASE NO. 3:17-cv-00939-WHA

                Plaintiff,                     DECLARATION OF LINDSAY COOPER
                                                  IN SUPPORT OF PLAINTIFF WAYMO
       vs.                                     LLC’S ADMINISTRATIVE MOTION TO
                                                  FILE UNDER SEAL ITS PRÉCIS ON
 UBER TECHNOLOGIES, INC.;                      MOTIONS IN LIMINE IN RESPONSE TO
    OTTOMOTTO LLC; OTTO TRUCKING                  CASE MANAGEMENT ORDER RE:
 LLC,                                          TRIAL PREPARATION
                Defendants.

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                                     COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 640-1 Filed 06/16/17 Page 2 of 2




 1 I, Lindsay Cooper, declare as follows:

 2          1.         I am an attorney licensed to practice in the State of California and am admitted to

 3 practice before this Court. I am an associate at the law firm Quinn Emanuel Urquhart & Sullivan,

 4 LLP, counsel for the Plaintiff Waymo LLC (“Waymo”). I have personal knowledge of the matters set

 5 forth in this Declaration, and if called as a witness I would testify competently to those matters.

 6          2.         I make this declaration in support of Waymo’s Administrative Motion to File Under

 7 Seal the confidential information in its June 16 Précis on Motions in Limine in Response to Case

 8 Management Order re: Trial Preparation (“Waymo’s Administrative Motion”).                       Waymo’s

 9 Administrative Motion seeks an order sealing the following materials:

10                             Document                     Portions to Be Filed         Designating
                                                                Under Seal                  Party
11            Précis                                       Highlighted in Blue         Defendants
12
            3.         The Précis contains an excerpt from Defendants’ interrogatory responses that
13
     Defendants have designated as confidential.
14
            4.         Waymo does not oppose the merits of sealing certain portions of Defendants’
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     designated material, and expects Defendants to file one or more declarations in accordance with the
16
     Local Rules.
17
            I declare under penalty of perjury under the laws of the State of California that the foregoing is
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     true and correct, and that this declaration was executed in San Francisco, California, on June 16, 2017.
19
                                                    By /s/ Lindsay Cooper
20                                                     Lindsay Cooper
                                                       Attorneys for WAYMO LLC
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22
                                        SIGNATURE ATTESTATION
23          Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the
24
     filing of this document has been obtained from Lindsay Cooper.
25

26                                                  /s/ Charles K. Verhoeven
                                                      Charles K. Verhoeven
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                                                       -2-                   CASE NO. 3:17-cv-00939-WHA
                                            COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
